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                         IN THE UNITED STATES DISTRICT
                COURT FOR THE SOUTHERN DISTRICT OF NEW YORK



   SEAN BURKE and JAMES POMERENE,
   individually and on behalf of all others similarly       Civil Action No.: 1:20-cv-03104-CM
   situated,

                                 Plaintiffs,                  [Proposed] Order Granting
                                                              Scott R. Drury’s Motion for
          v.                                                  Admission Pro Hac Vice
   CLEARVIEW AI, INC. a Delaware
   Corporation; HOAN TON-THAT, an
   individual; RICHARD SCHWARTZ, an
   individual; and DOES 1 through 10, inclusive

                                 Defendants.


       The motion of Scott R. Drury for admission to practice Pro Hac Vice in the above

captioned action is granted.

       Applicant has declared that he is a member in good standing of the bar of the state of

Illinois; and that his contact information is as follows:

       Applicant’s Name: Scott Robert Drury

       Firm Name:            Loevy & Loevy

       Address:              311 N. Aberdeen St., 3rd Floor

       City/State/Zip:      Chicago, Illinois, 60607

       Telephone/Fax:        (312) 243-5900/5902

       Email:                drury@loevy.com

       Applicant having requested admission Pro Hac Vice to appear for all purposes as

counsel for Intervenor David Mutnick in the above-entitled action;



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       IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hae Vice in

the above captioned case in the United States District Court for the Southern District of New

York. All attorneys appearing before this Court are subject to the Local Rules of this Court,

including the Rules governing discipline of attorneys.

       IT IS SO ORDERED




Dated: _________________, 2020



                                          JUDGE COLLEEN McMAHON
                                          UNITED STATES DISTRICT JUDGE




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